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            EXHIBIT D
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



GLOBAL HEALTH COUNCIL, et al.,

      Plaintiffs,

v.
                                                   Civil Action No. 1:25-cv-00402
PRESIDENT DONALD TRUMP, et al.,

      Defendants.



                                   [PROPOSED] ORDER

       The Court, having fully considered Plaintiffs’ motion for a temporary restraining order

(Dkt. 4), and the record herein, hereby ORDERS that Plaintiffs’ motion is DENIED.

       IT IS SO ORDERED, this day of February, 2025.




                                                           Amir H. Ali
                                                  UNITED STATES DISTRICT JUDGE




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